       Case 3:18-cr-00008-K Document 116 Filed 09/11/18 Page 1 of 1               PageID 268
                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

 UNITED STATES OF AMERICA                        §
                                                 §
 v.                                              §   CASE NO.: 3:18-CR-0008-K
                                                 §
 ROQUE CAMPOS (02)                               §

      AMENDED ORDER ACCEPTING REPORT AND RECOMMENDATION OF THE
       UNITED STATES MAGISTRATE JUDGE CONCERNING PLEA OF GUILTY

       After reviewing all relevant matters of record, including the Notice Regarding Entry of a Plea
of Guilty, the Consent of the defendant, and the Report and Recommendation Concerning Plea of
Guilty of the United States Magistrate Judge, the undersigned District Judge is of the opinion that
the Report and Recommendation of the Magistrate Judge concerning the Plea of Guilty is correct,
and it is hereby accepted in part by the Court. Accordingly, the Court accepts the plea of guilty,
and Roque Campos (2) is hereby adjudged guilty of Possession With the Intent to Distribute a
Controlled Substance, in violation of 21 USC § 841(a)(1) and (b)(1)(C). Sentence will be imposed
in accordance with the Court's scheduling order.

☒     The Court finds that it has been clearly shown that there are exceptional circumstances under
      § 3145(c) why the defendant should not be detained under § 3143(a)(2). The Government
      does not oppose Defendant Campos to remain on bond pending sentencing, and Defendant
      Campos has been compliant with his terms of release.

      Therefore, the Court finds by clear and convincing evidence that the defendant is not likely
      to flee or pose a danger to any other person or the community if released and should therefore
      be released under § 3142(b) or (c).

      SO ORDERED.

      SIGNED September 11th, 2018.

                                                     ________________________________________
                                                     ED KINKEADE
                                                     UNITED STATES DISTRICT JUDGE
